                IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CARING PEOPLE ALLIANCE        :             CIVIL ACTION
                              :
        v.                    :
                              :
EDUCATIONAL DATA SYSTEMS, INC.:             NO. 07-1267

                             MEMORANDUM

Dalzell, J.                                      September 29, 2008

          Caring People Alliance ("CPA") is a non-profit

organization that provides community-based services in the City

of Philadelphia.   Am. Compl. ¶ 5.   Educational Data Systems, Inc.

("EDSI") is a for-profit company that contracts with government

agencies and private employers to provide workforce development

services, e.g., job training.    Counterclaim ¶ 3.

          CPA and EDSI entered into a contract to use funding

from the Philadelphia Workforce Development Corporation1 ("PWDC")

to provide workforce development services to welfare recipients

in Philadelphia.   Am. Compl., Ex. A.     CPA has sued EDSI for

breach of that contract, unjust enrichment, promissory estoppel,

and fraud.    EDSI has counterclaimed for breach of contract,

breach of implied covenant of good faith and fair dealing, and

fraud.


     1
      PWDC is a quasi-governmental non-profit corporation that
the City of Philadelphia uses to administer its workforce
development initiatives.
            EDSI has moved for summary judgment, and we resolve

that motion now.


I.   Factual Background

     A.     The Story

            Prior to entering into the contract that is at the

center of this dispute, CPA and EDSI had worked together

informally.    Def.'s Mem., Ex. S [Kandel Dep.] at 15-16.    In 2004,

CPA and EDSI began to put together a proposal to secure funds

from PWDC to run Employment, Advancement, Retention Network

("EARN") Centers that would provide employment counselling and

placement services to Philadelphia welfare recipients.      Kandel

Dep. at 17-18; Def.'s Mem. Ex. NN [McDonald Dep.] at 20-21; Pl.'s

Mem. Ex. E [Bell Dep.] at 16.    The plan was for EDSI to be the

single point of contact for PWDC funding for the EARN Centers,

and then partner with CPA and other Philadelphia non-profit

organizations who would hire staff to provide direct services at

the Centers.    McDonald Dep. at 22; Am. Compl. Ex. A; Counterclaim

Ex. A.    In of July 2004, PWDC entered into such a contract with

EDSI.2 Counterclaim Ex. A.



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      We discuss this contract at greater length below in Section
I(A)(1) of this Memorandum.

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          EDSI and CPA then promptly began negotiations to

formalize their relationship.   MacDonald Dep. at 20-22, 29.   CPA

and EDSI hoped to execute two contracts: one related to the use

and lease of space at CPA's West Philadelphia Community Center

for an EARN Center, and another related to the services CPA would

deliver to welfare recipients through that Center, e.g., number

of active case managers provided.3   MacDonald Dep. at 22; Def.'s

Mem. Ex. R [Schnieders Dep.] at 21-22, 25-26.   We note that

although the EDSI-CPA contract covers the period from January 1,

2005 until June 30, 2006, the parties did not fully execute the

agreement until September 6, 2005.   Am. Compl. Ex. A.   Although

the parties seemed to settle on most things relatively early on,

they were still negotiating the so-called shared space agreement

well into August.   Def.'s Mem. Ex. U.

          After PWDC and EDSI did walk-throughs of the Community

Center, they determined that various improvements were necessary,

including painting, carpeting, furniture, workstations, dividers,

and computers.   MacDonald Dep. at 28, 37-39; Schnieders Dep. at

41-45.   PWDC, CPA, and EDSI agreed that these improvements would

be part of the set-up costs for the EARN Center in CPA's


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      We discuss this contract's provisions in greater depth
below in Section I(A)(2) of this Memorandum.

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Community Center that PWDC funding would cover.    MacDonald Dep.

at 39-40; Schnieders Dep. at 44-46; Pressey Dep. at 22-23.

Renovations began in January of 2005, and cost a total of

$156,860.11.   Bell Dep. at 23.   The plan was to have the

improvements completed and the EARN Center running at full

capacity by March 1, 2005.    Schnieders Dep. at 18-19.

          Unfortunately, things did not go as planned.    By March

1, 2005, CPA had not hired a full complement of case managers as

the contract required.   MacDonald Dep. at 32-34; Def.'s Mem. Ex.

B [Falcone Aff.] ¶¶ 12, 13.    In April of 2005, the Center began

operating at partial capacity.    MacDonald Dep. at 32; Falcone

Aff. ¶ 12; Def.'s Mem. Ex. E [Terrell Dep.] at 30.    It was not

operating with a full staff until the summer of that year.

Falcone Aff. ¶ 13.   Towards the end of the contract, the total

number of CPA's EARN Center staff began to dwindle once again.

MacDonald Dep. at 47-48; Bell Dep. at 30-31.

          Problems quickly arose between the EDSI staff and the

CPA staff.   The latter was responsible for the case management

services, while the former provided program management and other

services, e.g., readiness training and job development support.

Schnieders Dep. at 21-26; MacDonald Dep. at 22; see Falcone Aff.

¶¶ 3, 9; Terrell Dep. at 37.    The CPA case managers complained

                                  4
about not knowing whether EDSI or CPA personnel were in charge.

MacDonald Dep. at 51-53; Bell Dep. at 29; Terrell Dep. at 36.

EDSI was also unhappy with the initial performance of the case

managers, and instituted 8:00 a.m. meetings to address some of

these issues.   Def.'s Mem. Ex F; Falcone Aff. ¶¶ 15, 16, 19-21;

Bell Dep. at 29; MacDonald Dep. at 53-54; Terrell Dep. at 37-38.

These meetings were unpopular with the case managers and their

supervisors; they complained that their job often required them

to work off-hours, and the 8:00 a.m. meetings were onerous.

MacDonald Dep. at 53-54; Terrell Dep. at 38-39.

          The personnel problems eventually caught the attention

of the highest principals at EDSI and CPA.    Def.'s Mem. Ex. H,

Ex. F; Bell Dep. at 29-31.    EDSI's head representative at the

EARN Center, Roe Falcone, sought help with these personnel

problems from CPA's Vice-President of Business Development and

Planning, Gerald MacDonald.    Def.'s Mem. Ex. F.   MacDonald sent

an email to Falcone in which he reiterated the concerns CPA's

EARN Center manager, Brenda Terrell, had brought to his

attention, and clarified that there were two chains of command,

one for EDSI employees and another for CPA employees, but that

cooperation between the two was essential to success.    Id.    The

email was forwarded to EDSI's then-CEO Robert Schnieders.      Id.

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Schnieders was dismayed about the two different chains of command

and thought it a bad idea, but stated "[i]f that practice works,

we can live with it.    If it doesn't work, [CPA's EARN Center's

staff's] full participation will become mandatory."    Id.

Eventually, the 8:00 a.m. meetings did become mandatory, though

not all of the case managers could make every meeting.      Terrell

Dep. at 21, 37-38.    Problems between EDSI and CPA staff

eventually led to Brenda Terrell leaving her position in the EARN

Center in February of 2006.    Terrell Dep. at 59-60; Bell Dep. at

30; MacDonald Dep. at 66-67.

            Problems also arose with the use of space in CPA's

Community Center.    The Community Center -- described by one

former CPA employee as underutilized -- housed a day-care, summer

camp, senior and after-school programs, and teen pregnancy

programs.    Kandel Dep. at 14; MacDonald Dep. at 23; Bell Dep. at

19.   EDSI complained that the large presence of children during

the summer who were enrolled in CPA's summer day-care program

took away from the space the EARN center needed.    Terrell Dep. at

32; Bell Dep. at 27-28; MacDonald Dep. at 46.    This prompted CPA

to rent space elsewhere for use by participants in that program

so EDSI could have more exclusive space available for the EARN

Center.   Bell Dep. at 27-28; MacDonald Dep. at 46.   Nonetheless,

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EDSI made the decision that it needed more space than was

available to them at the Community Center, and as early as August

of 2005 leased space in another building.4   Falcone Aff. ¶ 36;

Def.'s Mem. Ex. T [Pressey Dep.] at 21, 24-25; Schnieders Dep. at

24.   This began a slow process of transferring operations to the

other site, but EDSI did not completely transfer its operations

to this new space until mid-April.   Falcone Aff. ¶ 37; McDonald

Dep. at 69-71.   Some of the property, e.g., furniture and

computers bought for the EARN Center stayed at the Community

Center, though why precisely this happened is in dispute.

Falcone Aff. ¶¶ 38-39; Schnieders Dep. at 61, 70-71; MacDonald

Dep. at 42.

           In March of 2005, EDSI ran an independent audit of the

costs CPA was reporting from January 1, 2005 to March 31, 2005.

Def.'s Mem. Ex. G.   In their report, the auditors determined that

CPA was not using an accrual method of accounting, there were

certain costs not accounted for on CPA's books, and back-up

documentation for certain cost allocations was lacking.   Id.



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      We find this particularly puzzling since the shared space
agreement EDSI and CPA signed was not executed until September 6,
2005, and seems to contemplate the use of the West Philadelphia
Community Center as a fully functioning EARN Center. See Am.
Compl. Ex. A at Ex. B.

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           On July 28, 2005, Robert Schnieders, EDSI's CEO, sent

CPA's Arlene Bell and Gerald MacDonald an email in which

Schnieders explained that in the fiscal year beginning on July 1,

2005, PWDC had changed the reimbursement structure.     Def.'s Mem.

Ex. H.   PWDC was going to make some portion of reimbursement

dependent on meeting certain performance benchmarks.     Id.   It was

not until January of 2006 that PWDC revealed the precise split

between cost reimbursement and performance payments (70/30), and

it was not until April of 2006 that PWDC and EDSI formalized the

modification to the contract that specified the benchmarks to be

met.   Def. Mem. at KK.

           On October 24, 2005, PWDC completed a performance audit

of the EDSI-CPA EARN Center.    Def.'s Mem. Ex. L.   In this audit,

PWDC found that the overall success rate, based on various

metrics, was twenty-eight percent, much below the goal of an

eighty-five percent success rate.     Id. at 1.   PWDC noted that the

problems uncovered required urgent action.     Id.   These problems

included insufficient tracking of clients through the program,

required documents missing from the client files, and large

numbers of clients not meeting mandated participation

requirements.   Id. at 1-3.   The audit also outlined corrective

measures to be implemented.    Id. at 2-5.

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             In January of 2006, PWDC and EDSI began discussing

potential reductions in funding for EDSI's EARN Centers.          Def.'s

Mem. Ex. KK at 3.     PWDC made the decision to change the funding

amounts because EDSI had not spent the full amount allocated from

January 1, 2005 to June 30, 2006.          Id. at 4.   PWDC had initially

allocated $1,580,640 for this period but only disbursed

$524,879.28.     Id. at 4-11.      EDSI pointed out there were some

costs that ought to have been reimbursed from the amount

allocated for fiscal year 2004-2005, but which could not be

because CPA had submitted its invoices too late to be included.

Id. at 3.5    PWDC eventually modified the contract by reducing the

funding for fiscal year 2004-2005 to what was actually funded,

and increased the overall funding for fiscal year 2005-2006 to

$3,569,0420.     Id. at 4.    This change reduced EDSI's overall

funding from $4,741,914 to $4,093,921. PWDC also modified the

contract with EDSI to make thirty percent of reimbursement

contingent on performance, and established new benchmarks for

assessing performance.       Id.

             On March 3, 2006, PWDC completed its second performance


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      CPA had almost immediate problems with prompt invoicing of
its costs. We shall discuss the provisions of the contract
relating to invoicing procedures and CPA's invoicing practices
below at Section I (B) and (C) of this opinion.

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audit of the EDSI-CPA EARN Center.     Def.'s Mem. Ex. O.   This

audit covered the period through January of 2006.     The EDSI-CPA

EARN Center performed better than in the previous audit, with a

forty-nine percent success rate, but PWDC pointed out continuing

problems with client attendance and missing documents from client

files.   Id. at 2.   According to PWDC, the EARN Center's overall

improved success rate meant that the corrective action plan that

PWDC had put into place after the October audit was working, and

PWDC reiterated that the EARN Center should continue to implement

that plan.   Id. at 3.

           On April 3, 2006, EDSI met with all its subcontractors,

including CPA, and informed them of PWDC's decision to reduce

EDSI's overall funding.    Schnieders Dep. at 79; Bell Dep. at 42.

During that meeting, EDSI provided budget figures to the

subcontractors.   Pl.'s Mem. Ex. A at 1-2.    The budget stated that

CPA's reduced budget for July of 2005 until June of 2006 would

total $1,309,489.96, with $916,684.11 (seventy percent) as cost

reimbursement and $392,805.85 (thirty percent) as performance-

based payments.   Id.    Later, EDSI's Comptroller Mark W. Pressey

acknowledged that the numbers presented at this meeting to the

subcontractors were "on the high side."     Pl.'s Mem. Ex. D;

Pressey Dep. at 39-41.

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            On May 4, 2006, PWDC completed its third performance

audit of the EDSI-CPA EARN Center.    Def.'s Mem. Ex. P.    This

audit covered the period through April of 2006.    Id.    This time

PWDC found the EDSI-CPA EARN Center had a fifty percent success

rate, a one percent increase from the last audit.     Id.   PWDC had

hoped to see a ten percent overall increase from the last.      Id.

at 2.   PWDC noted that client attendance numbers had increased

significantly, but also noted continued problems with the

documentation in the client files and a case manager to client

ratio that exceeded the permitted maximum.    Id. at 3.     PWDC also

instituted new measures to the corrective action plan to increase

monitoring and client participation.    Id. at 3-5.   PWDC stated in

the audit that if the EDSI-CPA EARN Center did not see a ten

percent increase in the success rate by July of 2006 the EARN

Center could be put on "probationary status".    Id. at 1.

           On June 6, 2006, Schnieders sent Bell a letter in which

he requested that CPA submit its "final invoice no late [sic]

than July 20, 2006 [because] [t]he fiscal year ends June 30th and

this will ensure that everything is in order to close out the

grant."   Pl.'s Mem. Ex. B.   Consistent with this request, CPA

submitted its final invoice, which consisted of the last three

months' worth of costs CPA had incurred through the EARN program.

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Joint Stipulation as to Certain Facts ¶ 2, 4-12.

            After the contract period was over, it took EDSI a long

time to get CPA their final reimbursements.      Apparently,

communications between the EDSI and CPA financial people broke

down.    Bell Dep. at 50-51.   EDSI repeatedly reassured CPA that

EDSI would pay CPA once PWDC paid EDSI.      Bell Dep. 51; MacDonald

Dep. at 78.    PWDC began reviewing the progress both in

performance and back-up documentation.      Def.'s Mem. Ex. MM.   PWDC

disallowed various payments for lack of required documentation.

Id.   PWDC also determined that EDSI was only entitled to about

fifty percent of the performance-based payments initially

allocated for EDSI's EARN Centers.      Def.'s Mem. Ex. LL.

            EDSI sent the final reimbursement to CPA on October 24,

2006.    Id.   The final check was for $139,393.13, well below what

CPA had expected.    Id; MacDonald Dep. at 79.    In the letter, EDSI

explained that the overall budget PWDC had allocated for fiscal

year 2005-2006 was $826,209.     Id.   Of this amount, only

$15,222.80 out of $578,346.30 remained for cost reimbursement.

Id.     Worse still, PWDC had only awarded $124,175.33 out of a

possible $247,862.70 for performance-based payments.       Id.   EDSI

stated that in total it had suffered a $1,063,519.84 shortfall in

its funding, pain that CPA would have to share.      Id.   CPA

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contacted EDSI regarding the small amount of their final

reimbursement, but EDSI told CPA there was nothing to be done

about it.    MacDonald Dep. at 79.      Conversations broke down, and

this litigation ensued.


     B.     The Contracts

            1.   EDSI-CPA Contract

            In July of 2004, EDSI entered into a contract with PWDC

to run various EARN Centers in Philadelphia.       The contract

covered the period from January 1, 2005 until June 30, 2006.

Counterclaim Ex. A.    It limited the maximum compensation for this

period to $4,741,914, initially allocating $1,580,640 for January

1, 2005 to June 30, 2005, and, contingent on funding, $3,161,274

to July 1, 2005 to June 30, 2006.       Id.

            The PWDC-EDSI contract also provided for specific

reimbursement procedures.      EDSI was obliged to submit invoices to

PWDC within thirty days of the time period for which EDSI sought

reimbursement.    Id. at 13.   If EDSI failed to make timely

submissions, then the decision to pay EDSI was wholly within

PWDC's discretion; PWDC could opt to pay the full sum, reduce the

reimbursement by ten percent of the amount invoiced, or not to

pay EDSI at all.    Id.   The contract also required that all


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invoices for the fiscal year ending June 30, 2006 had to be

submitted to PWDC no later than July 31, 2006.        Id.

           PWDC and EDSI formally modified this contract in April

of 2006.   Def.'s Mem. Ex. KK at 4-11.       As discussed above, the

modification reduced the overall amount of PWDC's funding for

EDSI's EARN Centers.   Id.   It reduced 2004-2005 funding from

$1,580,640 to $524,879.28.    The modification increased fiscal

year 2005-2006 funding from $3,161,274 to $3,569,0420, but

adjusted the payment structure from 100% cost reimbursement to

seventy percent cost reimbursement and thirty percent

performance-based payment.    Id.    The modification also set forth

the specific metrics by which PWDC would assess performance.          Id.


           2.   EDSI-CPA Contract

           EDSI then entered into contracts with CPA and other

non-profit organizations to provide workforce development

services throughout Philadelphia.        Am. Compl. Ex. A.   EDSI's

contract with CPA actually consisted of two agreements.         Id.   The

first agreement was for services and covered each side's

obligations to render services and cover costs incurred through

the EARN Centers.   Id.   The second agreement, contained in the

overall contract as Exhibit B, was the so-called shared space


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agreement, which covered EDSI's lease and use of space in CPA's

Community Center.      Id. Ex. B.


                  i.    Services Agreement

           The EDSI-CPA services agreement covered January 1, 2005

until June 30, 2006.      Id. § 2.   It stated that total compensation

under the agreement for this period would not exceed $1,680,509.

Id.   The agreement specified the job requirements for case

managers CPA was to hire, staffing requirements CPA was to

fulfill, and the client to counselor ratio CPA was to maintain.

Id. § 1, Ex. A.    This contract was finally executed on September

6, 2005.   Id.

           The services agreement required that all modifications

to the agreement be by written amendment.      Id. § 12.   The

agreement further stated that

           failure of either party to enforce strictly
           any of the provisions of this Agreement, or
           to require strict performance by the other
           party of any of the provision hereof...shall
           in no way be construed to be a waiver of such
           provisions...While EDSI may monitor [CPA's]
           performance under the Agreement, [CPA]
           remains solely responsible for its
           performance [and] monitoring of the
           Agreement, shall not constitute a waiver or
           modification of any term or condition.

Id.


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            The services agreement contained provisions regarding

reimbursement policies that mirrored those in the PWDC-EDSI

contract.    The agreement obliged CPA to submit to EDSI monthly

invoices within ten days of the month invoiced.       Id. § 5(a).

Again, if the invoices were untimely, EDSI could at its

discretion opt to fully reimburse CPA, reduce the face value of

the invoice by ten percent, or not reimburse CPA at all.       Id.

            The services contract also contained a deobligation

provision.    Id. § 4.   This provision gives EDSI:

            [T]he right to unilaterally deobligate,
            modify or amend [CPA]'s budget in proportion
            to EDSI's funding level, or if necessary, to
            suspend or terminate this Agreement or any
            amendment hereto immediately upon written or
            electronic notice to [CPA], as may be
            necessitated by EDSI's funding levels.

Id.   This provision contemplated PWDC reducing EDSI's budget, and

permitted EDSI to make a commensurate reduction in CPA's budget.

Any such deobligation was only "effective upon notification of

[CPA] by EDSI."    Id.

            These reimbursement policies and deobligation

provisions were the focal point of the litigation at its

inception.    See September 28, 2007 Order (docket entry #19).

Although the parties have broadened their claims against each

other, at first this litigation primarily concerned these

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provisions in the contract and practices of the parties related

to the invoicing of costs.     The parties sought declaratory

judgment and posed two specific questions: (1) whether PWDC's

reduction in EDSI's funding relieved EDSI of its obligation to

pay CPA, and (2) whether the contract permitted EDSI to

unilaterally disallow any invoice it received after the tenth day

of the month following the month the invoice covered.      Id. ¶¶

(t), (ee).

          We determined that EDSI did not relieve itself of its

duty to pay CPA until it notified CPA of a reduction in funding,

and the question of whether EDSI provided the obligatory notice

could not be determined without further fact development.       Id. ¶¶

(y), (dd).   We also determined that the services agreement

provisions that permitted EDSI to disallow payments on late

invoices was enforceable and its exercise was not subject to any

time restriction.     Id. ¶¶ (rr), (uu).   At the time, however,

factual questions remained as to whether the parties modified the

contract, and we permitted the litigation to progress.


                ii.    Shared Space Agreement

          The shared space agreement was an agreement for EDSI to

lease space in CPA's West Philadelphia Community Center for use


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as an EARN center.   Am. Compl Ex. A, Ex. B.    This lease also ran

from January 1, 2005 until June 30, 2006.     Id.   CPA would charge

a total of $8,843.70 each month for rent and utilities.      Id. Ex.

B § 2, § 5.   The shared space agreement also contemplated

renovations to the West Philadelphia Community Center.      Id. §§

1A, 7C; McDonald Dep. at 28.

          This agreement also contained specific "Exclusive Use"

provisions.   Id. § 1A.   These provisions specified areas within

the Community Center that CPA would "make available for use by

EDSI, and EDSI agrees to use."    Id.   With respect to certain

areas -- e.g., the technology lab and teen lounge -- the

agreement also enumerated conditions and caveats for exclusive

use, e.g., time of day, "subject to...use up to 4 hours per week

during the aforementioned hours for CPA's senior program."      Id.

          Both the services agreement and the shared space

agreement addressed the issue of improvements.      The services

agreement stated that upon termination of any agreement between

the parties through which the parties purchased property for the

Community Center "[CPA] agrees to return to EDSI all property

purchased with funds under [the agreements] except where [CPA]

and EDSI agree that [CPA] may continue to utilize such property

for another activity.     Any such agreement must be in writing and

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approved by EDSI."     Am. Compl. Ex. A, § 7c.

            Under the shared space agreement, the parties agreed

"to leave as many working computer stations in the lab as CPA

maintained in the lab prior to EARN Center renovations."      Id. Ex.

B § 1A(xi)(d).     Also, the shared space agreement made "all

improvements" the sole and exclusive property of CPA "except

where the EARN Center contract between EDSI and PWDC requires the

return of such property."     Id. Ex. B § 7C.    This same provision

also stated that when the EDSI-CPA contract required the return

of any property, EDSI would make a "good-faith petition to PWDC

on behalf of CPA to retain said property at the [Community

Center]."    Id.


     C.     The Invoices

            From the outset, CPA did not submit timely invoices.

In the end, CPA made eight submissions for reimbursement, which

contained a total of fourteen invoices6:




     6
      This table appeared before in our September 28, 2007 Order,
and since none of the facts used to develop it have changed, we
thought it best to reuse it now. The table is derived from the
information provided in the parties' Joint Stipulation as to
Certain Facts ¶ 2, 4-12.

                                  19
Invoice     Amount         Period    Date EDSI    Date EDSI Paid
   #                      Covered     Received
1         $196,307.90   1/1/05 to    4/15/05     2 checks
                        3/31/05                  11/29/05
                                                 ($165,420.63)
                                                 and 2/7/06
                                                 ($30,887.27)
2         $255,991.58   4/1/05 to    7/26/05     in dispute
                        6/30/05
3         $78,554.89    7/1/05 to    1/2/06      6/23/06
                        7/31/05
4         $97,334.93    8/1/05 to    1/2/06      6/23/06
                        8/31/05
5         $127,594.58   9/1/05 to    1/2/06      6/23/06
                        9/30/05
6         $91,010.12    10/1/05 to   1/2/06      6/23/06
                        10/31/05
7         $89,823.46    11/1/05 to   1/12/06     6/23/06
                        11/30/05
8         $78,805.60    12/1/05 to   1/12/06     6/23/06
                        12/31/05
9         $76,194.66    1/1/06 to    2/22/06     in dispute
                        1/31/06
10        $69,864.81    2/1/06 to    3/31/06     in dispute
                        2/28/06
11        $92,872.85    3/1/06 to    4/10/06     in dispute
                        3/31/06
12        $78,399.85    4/1/06 to    7/13/06     in dispute
                        4/30/06
13        $66,660.61    5/1/06 to    7/13/06     in dispute
                        5/31/06
14        $94,845.51    6/1/06 to    7/13/06     in dispute
                        6/30/06


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            Seven invoices remain in dispute.   Of these invoices,

EDSI never incorporated nos. 9-14 into its submissions to PWDC.

Pressey Dep. 44-49.    EDSI incorporated invoice #2 into a

submission sent to PWDC on September 21, 2005, which PWDC

reimbursed.    Pressey Dep. at 51-53; Def.'s Mem. in Supp. of Decl.

Judgment Ex. D.    PWDC later informed EDSI that the amount

attributed to CPA was submitted too late to be considered part of

the 2004-2005 fiscal year, so PWDC would credit itself

$255,991.58 against payments it would make to EDSI in the 2005-

2006 fiscal year.    Pressey Dep. 59-62.

            Several of the invoices also contained discrepancies.

CPA did not include employee time sheets in some of their

invoices.    Def.'s Mem. Ex. OO.   According to EDSI, in every

invoice except #1 and #4, CPA included costs relating to people

who did not work at the EARN Center, no longer worked there when

the salary requests were invoiced, or overcharged for the time

worked.   See Falcone Aff. ¶¶ 26-27, 47-51; Def.'s Mem. Ex. V, X,

Y, Z, AA, BB, CC, DD, EE, FF, GG, HH, II.     CPA's comptroller,

William Hastings, admitted that he had improperly invoiced

certain costs to EDSI, but that he would never have noticed his

error were it not for EDSI's counterclaims in this case, and

never intended to include any improper costs.     Def.'s Mem. Ex. W

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[Hasting Dep.] 66-69.


II.   Analysis

           EDSI has moved for summary judgment on all the claims.7

CPA brought claims for breach of contract, unjust enrichment,



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      Summary judgment is appropriate if there is no genuine
issue of material fact and the moving party is entitled to
judgment as a matter of law. Fed. R. Civ. P. 56(c). In ruling
on a motion for summary judgment, the Court must view the
evidence, and make all reasonable inferences from the evidence,
in the light most favorable to the nonmoving party. Anderson v.
Liberty Lobby, Inc., 477 U.S. 242, 252 (1986). Whenever a
factual issue arises which cannot be resolved without a
credibility determination, at this stage the Court must credit
the non-moving party's evidence over that presented by the moving
party. Liberty Lobby, 477 U.S. at 255.
     The moving party bears the initial burden of proving that
there is no genuine issue of material fact in dispute.
Matsushita Elec. Indus. Co. Ltd. v. Zenith Radio Corp., 475 U.S.
574, 585 n.10 (1986). Once the moving party carries this burden,
the nonmoving party must "come forward with 'specific facts
showing there is a genuine issue for trial.'" Matsushita, 475
U.S. at 587 (quoting Fed. R. Civ. P. 56(e)). The non-moving
party must present something more than mere allegations, general
denials, vague statements, or suspicions. Trap Rock Indus., Inc.
v. Local 825, 982 F.2d 884, 890 (3d Cir. 1992); Fireman's Ins.
Co. of Newark v. DuFresne, 676 F.2d 965, 969 (3d Cir.1982). It
is not enough to discredit the moving party's evidence, the non-
moving party is required to "present affirmative evidence in
order to defeat a properly supported motion for summary
judgment." Liberty Lobby, 477 U.S. at 257 (emphasis in original).
A proper motion for summary judgment will not be defeated by
merely colorable or insignificantly probative evidence. See
Liberty Lobby, 477 U.S. at 249-50. Also, If the non-moving party
has the burden of proof at trial, then that party must establish
the existence of each element on which it bears the burden.
Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986).

                                22
promissory estoppel, and fraud.    EDSI asserted claims for breach

of contract, breach of the covenant of good faith and fair

dealing, and fraud.   We will first consider each of CPA's claims,

and then move to EDSI's claims.


     A.   CPA's Claims

          As noted, CPA asserts claims for breach of contract,

unjust enrichment, promissory estoppel, and fraud.   We consider

each in turn.


          1.     CPA's Breach of Contract Claim

          We have already ruled that the provisions of the EDSI-

CPA contract permit EDSI to disallow any payment for an invoice

that CPA submitted to EDSI after the tenth day of the month

following the activity period invoiced, and there is no time

restriction on the exercise of this right.   Sept. 28, 2007 Order

¶¶ (rr), (uu).   Also, under the agreement, simple failure to

enforce a provision or remind the other party of the provision's

terms does not constitute a waiver of that provision.   Am. Compl.

Ex. A § 12.    Thus, CPA can only establish that EDSI breached the

contract by not paying CPA for the amounts it invoiced, if CPA

can first establish that the parties modified the contract.

          CPA argues that the parties modified this contract

                                  23
through their course of performance.    See Pl.'s Mem. at 7-12.

But the contract only permits written modifications.    Am. Compl.

Ex. A § 12.   CPA does not and cannot offer any evidence of a

written modification of the contract.

          But under Pennsylvania law, "[a]n agreement that

prohibits non-written modification may be modified by subsequent

oral agreement if the parties' conduct clearly shows the intent

to waive the requirement that the amendments be made in writing."

Somerset Community Hosp. v. Allan B. Mitchell & Assoc., Inc., 685

A.2d 141, 146 (Pa. Super. 1996); see also C.I.T. Corp. v. Jonnet,

214 A.2d 620, 622 (Pa. 1965).   One such "implied waiver occurs

when words or conduct express an intent not to exercise a known

contractual right and when the person claiming the waiver was

misled and prejudiced by this behavior."    LBL Skysystems (USA),

Inc. v. APG-America, Inc., 2006 WL 2590497, at *16 (E.D. Pa.

Sept. 6, 2006) (quoting In re MK Lombard Group, Ltd., 2005 WL

735993, at *11 (E.D. Pa. Mar. 31, 2005)); Brown v. City of

Pittsburgh, 186 A.2d 399, 401 (Pa. 1962) ("In the absence of an

express agreement a waiver will not be presumed or implied

contrary to the intention of the party whose rights would be

injuriously affected thereby, unless by his conduct the opposite

party has been misled, to his prejudice, into the honest belief

                                24
that such waiver was intended or consented to" (internal

quotations omitted)).    This type of implied modification should

be based on conduct consisting of "acts and declarations of the

parties inconsistent with the existence of the original

contract."    Weldon & Kelly Co. v. Pavia Co., 46 A.2d 466, 468

(Pa. 1946).   Thus, course of performance between contracting

parties can modify a contract between them despite a provision

prohibiting non-written modification.     It can do so if one party

acts in a manner inconsistent with its rights under the contract

by not exercising known contractual rights, thereby misleading

the other party into believing that the former has waived those

rights, and thus prejudicing the latter party.

          All of CPA's evidence on course of performance consists

of EDSI's failures to act.    CPA cannot point to any affirmative

act of EDSI that establishes that it relinquished its rights

under the contract.    EDSI never specifically disallowed any

payments for untimeliness.    EDSI paid for the first eight

invoices despite CPA's tardiness.     Joint Stipulation as to

Certain Facts ¶ 2, 4-12.    EDSI provided no notice that CPA was

delinquent on its invoices, nor did it notify CPA that if it did

not submit them in a timely manner, then EDSI would penalize CPA.

Hastings Dep. 64; Bell Dep. at 25; Pressey Dep. at 17; see also

                                 25
Schnieders Dep. at 32-34.    Also, EDSI admits that the reason it

did not forward CPA's final six invoices to EDSI had nothing to

do with the timeliness of their submission, but instead PWDC had

stated that its remaining funding was slated for performance

payments; thus, cost reimbursement invoices no longer mattered.

Pressey Dep. at 44-49.

            But EDSI did not act in a manner inconsistent with its

rights under the contract.    Although EDSI did fail to provide

notice of the potential consequences for untimely submission of

invoices, nothing in the contract requires EDSI to provide such

notice before exercising its rights.    More importantly, the

contract gave EDSI three options if CPA failed to submit timely

invoices: EDSI could disallow all payment, reduce the payment by

ten percent, or pay the full amount.    Am. Compl. Ex. A § 5(a).

Over the first half of the contract EDSI consistently chose the

third option.    Without an affirmative act or declaration waiving

the right to make a particular choice, we cannot imply such a

waiver from a course of performance consistent with the four

corners of the contract.    Thus, we find that the course of

performance under the EDSI-CPA contract did not modify the

contract.

            We have previously held that there is no time

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restriction on the exercise of EDSI's contractual right to

disallow payment for late invoices.    September 28, 2007 Order ¶¶

(rr), (uu).   Thus, EDSI was free to exercise its right not to pay

EDSI for the late invoices at any time within reason.   This right

does not extend to invoice #11 for $92,872.85 because it was

timely submitted to EDSI.   However, EDSI more than covered this

amount with its final payment of $139,393.13.   Def.'s Mem. Ex.

LL.

           This payment, oddly enough, is a technical breach of

the contract since it does not conform with the contractual

options.   That is to say, it is not a full payment, nonpayment,

or ten percent reduction in payment.   But it does operate as a

windfall for CPA, so even if CPA sought to use this as grounds

for a breach, no damages would be due.8

           CPA also argues that EDSI extended the time left for

CPA's final invoice by sending Bell the June 6, 2006 letter that

requests the "final invoice" no later than July 20, 2006.    Pl.'s

Mem. Ex. B.   EDSI counters that this invoice was not a extension

of the time to file the final invoice, but a form letter that



      8
      Another possible interpretation could be that this payment
was meant to constitute reasonable value for CPA's services
rendered despite its failure to submit timely invoices.

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EDSI sent to each of the subcontractors, as a courtesy, to remind

them to submit their final invoices so EDSI and PWDC could close

its books.   Schnieders Dep. at 104-05.   Furthermore, EDSI argues

that even if it was an extension it would only apply to the last

month's invoice and not to the entire final invoice that CPA sent

EDSI, which consisted of costs for the months of April, May, and

June of 2006.   We agree with EDSI on the latter point.   Since

EDSI was free to disallow payment on the earlier late invoices,

the only invoice that was potentially extended was that part of

CPA's invoice consisting of the costs for June only.

          But the larger question of whether the June 6, 2006

letter actually extended the deadline for submission or was

simply a reminder that invoices ought to be in, requires one to

assess the credibility of competing statements and understandings

about the letter.   Only a jury can do that.   Therefore, we will

grant summary judgment in favor of EDSI as to CPA's contract

claim except insofar as it relates to the question of whether the

June 6, 2006 letter extended the time available to CPA to submit

invoice #14.


          2.    CPA's Unjust Enrichment

          Under Pennsylvania law, for one to recover for unjust


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enrichment the defendant must have been enriched by plaintiff's

efforts, and it would be unjust to permit defendant to retain the

benefit without a payment of value for the benefit retained.

Schenck v. K.E. David Ltd., 666 A.2d 327, 328 (PA. Super. 1995).

When a contract covers the subject matter in dispute between

parties to that contract, Pennsylvania courts do not make

findings of unjust enrichment.    Mitchell v. Moore, 729 A.2d 1200,

1203 (Pa. Super. 1999).   But courts find unjust enrichment if a

party to a contract has conferred a benefit to the other party

through part performance, while at the same time breaching the

contract through that part performance.   Oak Ridge Constr. Co. v.

Tolley, 504 A.2d 1343, 1348 (Pa. Super. 1985) (citing Restatement

(Second) of Contracts § 237)).    If there was unjust enrichment,

then defendant must compensate plaintiff for the reasonable value

of the benefits conferred.   Pulli v. Warren Nat'l Bank, 412 A.2d

464, 465 (Pa. 1979); J.A. & W.A. Hess, Inc. v. Hazle Township,

400 A.2d 1277, 1280 (Pa. 1979).

           Here, a jury could find unjust enrichment, and failure

to pay reasonable value for the services CPA rendered.   We have

granted summary judgment to EDSI as to most of CPA's breach of

contract claim; the only portion that remains involves invoice

#14.   A jury could find that EDSI did not extend the deadline for

                                  29
submitting the final invoice, and therefore did not breach the

contract, relieving EDSI of any further obligation to pay CPA.

            But CPA did confer a benefit on EDSI: it paid salaries

of staff at the EARN Center, for which it expected to be

reimbursed.    EDSI argues that it was not enriched by CPA's

conduct because EDSI lost money on the deal.    Schnieders Dep. at

96.   But EDSI continued to operate the EARN Center, and CPA

continued to pay some of the staff.    If CPA had stopped paying

these salaries, EDSI would have had to pay them, and thus would

have incurred more cost.    From EDSI's perspective, CPA was a

benefit because it permitted EDSI to spread the risk of a funding

shortfall to yet another subcontractor.    Thus, EDSI did benefit

from CPA's actions.

            The only question remaining is whether EDSI's final

payment to CPA constituted reasonable value for services

rendered.    EDSI paid CPA for a portion of its costs, $139,393.13.

Def.'s Mem. Ex. L.    Schnieders testified that EDSI calculated its

last payment by allocating to CPA a proportional share of the

money remaining after spreading the funding shortfall equally

between all of the subcontractors and itself.    Schnieders Dep. at

88-89.   Whether this amounts to reasonable value is a question of

fact for the jury.

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          3.     Promissory Estoppel Claim

          Under Pennsylvania law, promissory estoppel is a

doctrine used in the alternative to a breach of contract, and

applies only when the standard elements of contract formation

cannot be established.    Crouse v. Cyclops Indus., 745 A.2d 606,

610 (Pa. 2000) ("Where there is no enforceable agreement between

the parties because the agreement is not supported by

consideration, the doctrine of promissory estoppel is invoked to

avoid injustice by making enforceable a promise made by one party

to the other when the promisee relies on the promise and

therefore changes his position to his own detriment").    Thus, a

claim of promissory estoppel is not cognizable in the presence of

an express contract.     Blue Mountain Mushroom Co., Inc. v.

Monterey Mushroom, Inc., 246 F. Supp. 2d 394, 407-08 (E.D. Pa.

2002); see also Carlson v. Arnot-Ogden Memorial Hosp., 918 F.2d

411, 416 (3d Cir. 1990); Synesiou v. Designtomarket, Inc., 2002

WL 501494, at *4 (E.D. Pa. Apr.3, 2002).

          Here, we have an express contract between the parties

that covers the specific subject matter and from which liability

and damages can derive.    Thus, promissory estoppel relief is

unwarranted and we will grant EDSI's motion for summary judgment

on this claim.

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          4.      CPA's Fraud Claim

          CPA has alleged that EDSI committed fraud based on the

statements EDSI made during the April 3, 2006 meeting with its

subcontractors.    Under Pennsylvania law, the elements of fraud

are (1) a misrepresentation; (2) a fraudulent utterance; (3) an

intention by the maker that the recipient will thereby be induced

to act; (4) justifiable reliance by the recipient upon the

misrepresentation; and (5) damage to the recipient as a proximate

result. E.g., Glover v. Severino, 946 A.2d 710, 713 (Pa. Super.

2008).

          What exactly occurred during the meeting is in dispute.

According to CPA's executive director, Arlene Bell, the

subcontractors "were lead to believe that we would be paid."

Bell Dep. at 51.    Bell took the figures back to her financial

team to determine whether continued operation of the EARN Center

made fiscal sense for CPA.    Bell Dep. at 51-52; MacDonald Dep. at

68-69; Hasting Dep. at 74.    Based on the budget EDSI provided,

CPA decided to keep the EARN Center running.    Bell Dep. at 52;

MacDonald Dep. at 68-69.    EDSI acknowledges that they knew these

numbers were incorrect when EDSI gave them to CPA.    Pl.'s Mem.

Ex. D; Pressey Dep. at 39-41.    Around this time, CPA also made

the decision to finish out the contract, but not seek to have it

                                  32
renewed.   Bell Dep. at 30-31; MacDonald Dep. at 72-73; Schnieders

Dep. at 126-27.

           EDSI's then-CEO Schnieders recalled the events

differently.   He testified that at the April 3, 2008 meeting he

told the subcontractors about all reductions in funding, and that

the funding would be split: seventy percent of the funding for

cost reimbursement and thirty percent performance-based.

Schnieders Dep. at 79-80.

           Thus, we have a dispute as to what exactly was said

during the meeting and what effect it was meant to have: a

question of fact remains as to whether EDSI intended to induce

reliance on its budgetary figures it provided to CPA.   Only a

jury can resolve such a question.    Therefore, we will deny EDSI's

motion for summary judgment as it applies to CPA's fraud claim.


     B.    EDSI's claims

           EDSI claims breach of the covenant of good faith and

fair dealing, breach of contract, and fraud.   Under Pennsylvania

law, there is no distinction between a breach of the covenant of

good faith and fair dealing and a breach of contract claim.

Birth Center v. St. Paul Co., Inc., 787 A.2d 376, 385 (Pa. 2001).

Therefore, we shall conflate the two claims.   After analyzing the


                                33
EDSI's breach of contract claim, we will turn to its fraud claim.


           1.   EDSI's Breach of Contract Claim

           EDSI contends that CPA breached the contract because

CPA failed to hire and retain a full complement of case managers,

failed to provide the space as required by the shared space

agreement, threatened negative press if EDSI took property from

the Community Center that was bought for the EARN Center, failed

to meet the benchmarks and corrective action plans imposed by

PWDC, and failed to support EDSI when EDSI sought to correct case

manager performance issues.     CPA disputes each of these bases for

breach of contract.   We consider each in turn.


                i.    Providing Case Managers

           EDSI claims that CPA breached the contract by delaying

the initial hiring of case managers for the EARN Center, and by

failing to maintain a full complement of case managers.

           We note that EDSI and CPA modified the contract as it

pertained to when CPA had to have the case managers available.

The terms of the contract run from January 1, 2005 until June 30,

2006.   Am. Compl. Ex. A § 2.   No other dates are specified in the

agreement.   This would mean that CPA was responsible for

providing the required number of case managers by January 1,

                                  34
2005.   Yet the parties agree that they had planned renovations

for the Community Center that were expected to run until March 1,

2005, and the expectation was that staff would be available to

operate the Center from that later date.   The question that

remains is not whether the contract was modified on this point,

but how it was modified.

           The record establishes that CPA initially failed to

hire a sufficient number of case managers to work at the EARN

Center.   MacDonald Dep. at 32-34; Falcone Aff. ¶¶ 12, 13.   But

CPA provides testimonial and documentary evidence to establish

that the delay was due to an initial reduction in funding that

required CPA to bring people in more slowly than anticipated.

Def's Mem. Ex. D, Ex. KK at 2; McDonald Dep. at 33-34.   EDSI can

point to no evidence that undermines, either directly or by

inference, CPA's proffered evidence.   Thus, the initial failure

of CPA to hire the required number of case managers cannot be the

basis for breach of contract because the evidence establishes

that the parties modified the terms of the contract to permit CPA

to bring on case managers at a slower rate than the contract

contemplated.

           EDSI also claims that the failure of CPA to maintain a

full complement of case managers in the waning months of the

                                35
contract constituted a breach of contract.       CPA admits that it

had problems maintaining case managers because of high turnover,

and that toward the end of the contract they stopped hiring new

case managers because CPA would shortly be out of the contract.

MacDonald Dep. at 47-48; Bell Dep. at 30-31.       One could infer

from Bell's testimony that the decision for CPA to stop hiring

case managers and EDSI to do it directly was made by EDSI and CPA

together.    If it did, then there would have been further

modification of the contract.       However, if CPA did not confer

with EDSI regarding its decision to cease hiring case managers,

then CPA would be in breach of the services agreement.       Thus, too

many questions of material fact remain for us to go further on

summary judgment.


            ii.   Providing Space

            EDSI claims that CPA breached the contract by failing

to provide the space as required under the contract.       The shared

space agreement contains very specific provisions regarding the

use of the Community Center.    EDSI cannot point to any specific

violations of the agreement.

     The space issues seemed to have arisen during the summer of

2005, and here we have a dispute about what happened.       CPA


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contends that there were space issues related to the summer camp

program, and so it rented space in another location to house the

children so EDSI could have the space for the EARN Center.

Terrell Dep. at 32; Bell Dep. at 27-28; MacDonald Dep. at 46.

EDSI counters that CPA did not provide it with the required

space, so EDSI made the decision to lease additional space at

another location to house much of the EARN Center. Falcone Aff. ¶

36; Pressey Dep at 21, 24-25; Schnieders Dep. at 24.

          EDSI and CPA also dispute whether EDSI provided notice

that it was leaving or ever fully left the Community Center.

EDSI contends that it told CPA that the Community Center was not

working out and they were moving out.    Falcone Aff. ¶¶ 36-37;

Schneiders Dep. 61-63.   But the people to whom EDSI would have

given notice, Arlene Bell or Gerald MacDonald, testified that

neither received notice that EDSI was completely transferring its

operations to a new space; instead, they recalled EDSI telling

them it would continue to use the space in the Community Center

for some EARN Center operations.     Bell Dep. at 39-40; MacDonald

Dep. at 70-71; Hasting Dep. at 72.

          EDSI has not presented evidence of any actual violation

of the shared space agreement, but the fact that EDSI leased

extra space does permit the inference that the space, as

                                37
contracted for, was not provided.    Thus, we are left with

material questions of fact, which we cannot resolve on this

posture.


           iii. Threats of Bad Press

           EDSI also contends that CPA breached the covenant of

good faith and fair dealing.   In order to violate the covenant of

good faith and fair dealing, a contracting party must act in bad

faith with respect to his obligations under the contract.      Birth

Center, 787 A.2d at 385; Restatement (Second) Contracts § 205(d)

(behaviors identified by the Restatement as bad faith: "evasion

of the spirit of the bargain, lack of diligence and slacking off,

willful rendering of imperfect performance, abuse of a power to

specify terms, and interference with or failure to cooperate in

the other party's performance").

           EDSI contends that CPA breached this covenant by

preventing EDSI from removing the EARN Center's moveable property

from the Community Center with threats of bad press.    EDSI

employees testified that CPA prevented EDSI from taking the

furniture and computers which had been bought to improve the

Community Center by threatening EDSI with bad press.    Falcone

Aff. ¶¶ 38-39; Schnieders Dep. at 61, 70-71.    CPA denies these


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allegations, and stated that no one ever prevented EDSI from

taking their moveable improvements to the space, but that EDSI

voluntarily left much of the furniture because it did not match

well with the new space.    MacDonald Dep. at 42.

            Again, we are presented with diametrically opposed

versions of the same events which bear directly on whether CPA

breached the contract.    Therefore, we cannot resolve this

question, and must leave it for a jury to decide.


            iv.   Case Manager Performance

            EDSI also contends that CPA breached the covenant of

good faith and fair dealing, i.e., acted in bad faith, based on

the case managers' performance, i.e., their failure to meet the

requisite benchmarks, comply with PWDC's corrective action plan,

tardiness, and absenteeism.    EDSI points to these facts as

evidence of a willful disregard on the part of the case managers

to their duties.

            EDSI offers the PWDC audits as proof of this disregard.

PWDC initially gave the EARN Center an abysmal overall success

rate, and instituted a corrective action plan to remedy the

problems.    Def.'s Mem. Ex. L. (twenty-eight percent success

rate).   There was much improvement after the second PWDC audit.


                                  39
Def.'s Mem. Ex. O. (forty-nine percent success rate).     But that

improvement tapered off quickly.      Def.'s Mem. Ex. P. (one percent

increase in success rate).   All of the audits reported continuing

problems with client participation and record-keeping.

          EDSI also points to the initial personnel problems as

evidence of the case managers' and CPA's bad faith.     EDSI

contends that the case managers' and Brenda Terrell's absenteeism

and failure to attend the 8:00 a.m. meetings constituted bad

faith performance of the case managers' and CPA's duties under

the contract.   Def.'s Mem. at 42-43.

          CPA cannot and does not deny that the audits were bad.

CPA does deny the claim that their case managers and supervisors

were not trying to meet their responsibilities.     CPA's Arlene

Bell, Gerald MacDonald, and Brenda Terrell all testified that

they took the corrective action plan seriously and case managers

were working to meet these benchmarks.     Bell Dep. at 43-45;

MacDonald Dep. at 54-58; Terrell Dep. at 48, 52-54, 67-68.

MacDonald also pointed out that some of the larger county

assistance was feeding CPA's EARN Center clients, which meant

that the number of clients and the space that CPA and EDSI

contemplated was markedly low.   MacDonald Dep. at 34-35.      He also

testified that case managers worked outside of regular business

                                 40
hours so they could accommodate their clients' schedules.

MacDonald Dep. at 53-54.   CPA's Terrell testified that the

initial problems with attendance at 8:00 a.m. staff meetings

conducted by EDSI were due to CPA staff having to change their

regularly scheduled hours to make these meetings, and that CPA's

staff was not overly absent.   Terrell Dep. at 34, 36-38.

          CPA also disputes that all of the failures were wholly

due to CPA staff.   According to CPA, many of the problems PWDC

cited arose from confusion about whether EDSI or CPA staff was

responsible for a particular task.   Bell Dep. at 45; Terrell Dep.

at 37, 42-43; MacDonald Dep. at 52-53. Also, some of the failures

were due to "changing requirements of the funder."   Bell Dep. at

45.

          Questions remain about the quality and adequacy of the

job done, and whose job it was in the first place.   Resolution of

these outstanding questions upon which liability turns requires

determining who is more credible, a job reserved for a jury.

Thus, we will deny EDSI's motion for summary judgment on its

claim for breach of the covenant of good faith and fair dealing

that is based on poor case manager performance.




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            iv. Materiality Of The Breach

            We note that in all of the instances of alleged breach

above, another question also remains for the jury, i.e., if after

finding that CPA breached the contract on any of the

aforementioned bases, did that breach amount to a material breach

of the contract, which permits EDSI not to perform under the

contract.    Oak Ridge Constr. Co. v. Tolley, 504 A.2d 1343, 1348

(Pa. Super. 1985) (citing Restatement (Second) of Contracts §

237)).   Here, where other facts are in dispute regarding the

underlying breach itself, we shall also leave for the jury all

questions regarding the materiality of CPA's alleged breaches of

contract.


            3.   EDSI's Fraud Claim

            EDSI has alleged that CPA defrauded EDSI by including

improper charges on its invoices.     As noted, under Pennsylvania

law, the elements of fraud are (1) a misrepresentation; (2) a

fraudulent utterance; (3) an intention by the maker that the

recipient will thereby be induced to act; (4) justifiable

reliance by the recipient upon the misrepresentation; and (5)

damage to the recipient as a proximate result.    E.g., Glover v.

Severino, 946 A.2d 710, 713 (Pa. Super. 2008).


                                 42
            CPA acknowledged that it improperly included amounts in

various invoices.    Hasting Dep. 66-69.    But CPA denies that they

did it with the requisite intent.     Id.   CPA and EDSI also dispute

which invoice entries are improper.     Compare Def.'s Mem. Ex. ¶

(CPA's assessment of improper charges in the invoices) with

Def.'s Mem. at 17-25.    To resolve the question of intent with the

evidence before us would oblige us to make credibility

determinations that are the province of a jury.     Therefore, we

will deny EDSI's motion for summary judgment as it applies to

EDSI's fraud claim.


III. Conclusion

            In sum, we shall grant summary judgment in favor of

EDSI as to all aspects of CPA's breach of contract claim except

whether EDSI's June 6, 2006 letter extended the submission

deadline for invoice #14.    We also grant summary judgment in

favor of EDSI on CPA's promissory estoppel claims.

     In all other respects, we deny EDSI's motion for summary

judgment.

                      BY THE COURT:

                      /s/ Stewart Dalzell, J.




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44
                 IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CARING PEOPLE ALLIANCE        :           CIVIL ACTION
                              :
        v.                    :
                              :
EDUCATIONAL DATA SYSTEMS, INC.:           NO. 07-1267

                              ORDER

          AND NOW, this 29th day of September, 2008, upon

consideration of defendant EDSI's motion for summary judgment

(docket entry #34), plaintiff CPA's response, and EDSI's reply,

it is hereby ORDERED that:

          1.     EDSI's motion for summary judgment is GRANTED IN

PART consistent with the foregoing Memorandum;

          2.     In all other respects, EDSI's motion for summary

judgment is DENIED; and

          3.     By October 6, 2008, plaintiff's counsel, after

conferring with opposing counsel, shall ADVISE the Court by fax

(215-580-2156) whether a settlement conference with the Court's

Magistrate Judge would be fruitful.

                      BY THE COURT:


                      /s/ Stewart Dalzell, J.
                 IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CARING PEOPLE ALLIANCE        :           CIVIL ACTION
                              :
        v.                    :
                              :
EDUCATIONAL DATA SYSTEMS, INC.:           NO. 07-1267

                             JUDGMENT

          AND NOW, this 29th day of September, 2008, in

accordance with the accompanying Memorandum and Order, and the

Court having this day granted plaintiff's motion for summary

judgment in part, JUDGMENT IS ENTERED:

          1.     In favor of defendant Educational Data Systems,

Inc. and against plaintiff Caring People Alliance as to

plaintiff's breach of contract claim except as it pertains to the

submission of invoice #14; and

          2.     In favor of defendant Educational Data Systems,

Inc. and against plaintiff Caring People Alliance, as to

plaintiff's promissory estoppel claim.



                      BY THE COURT:


                      /s/ Stewart Dalzell, J.
